            Case: 1:20-cv-01717 Document #: 165-1 Filed: 10/13/22 Page 1 of 4 PageID #:1089
                                                                     Exhibit A
AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                             for the
                                                 NORTHERN                   District of         ILLINOIS

                         Ariel Roman,                                           )
                               Plaintiff                                        )
                                  v.                                            )         Civil Action No.             20cv1717
                                                                                )
                    City of Chicago, et al                                      )         (If the action is pending in another district, state where:
                             Defendants                                         )                                                     )


                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: William Harmening
    c/o Julian Johnson
     x Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization that is not a party in this case, you must designate
one or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf
about the following matters, or those set forth in an attachment:

 Place:        VIA Zoom                                                                    Date and Time:
                                                                                           November 16, 2022 @ 9:30 am

          The deposition will be recorded by this method: COURT REPORTER & VIDEOGRAPHER

          Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
          material:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date: Oct 5, 2022
                                  CLERK OF COURT
                                                                                              OR
                                                                                                                 /s/ Whitney N. Hutchinson
                                           Signature of Clerk or Deputy Clerk                                           Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)  Defendant, Bogard
                                                                        , who issues or requests this subpoena, are:
WHITNEY N. HUTCHINSON, BORKAN & SCAHILL, LTD., 20 SOUTH CLARK STREET, SUITE 1700,
CHICAGO, IL 60603, whutchinson@borkanscahill.com; (312) 580-1030
              Case: 1:20-cv-01717 Document #: 165-1 Filed: 10/13/22 Page 2 of 4 PageID #:1090
                                                                    Exhibit A

AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.           20cv1717

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                  .

           I served the subpoena by delivering a copy to the named individual as follows:
                     Via email: julianjohnsonlaw.com
                                                                                          on (date) Oct 5, 2022     ; or

           I returned the subpoena unexecuted because:
                                                                                                                            .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                         for services, for a total of $   .


          I declare under penalty of perjury that this information is true.


                                                                                            /s/ Elena Favela
Date:     Oct 5, 2022
                                                                                           Server’s signature

                                                                                             Elena Favela
                                                                                         Printed name and title


                                                                                     20 South Clark St., Chicago, IL

                                                                                              Server’s address

Additional information regarding attempted service, etc:
             Case: 1:20-cv-01717 Document #: 165-1 Filed: 10/13/22 Page 3 of 4 PageID #:1091
                                                                     Exhibit A




 AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action (Page 3)




                               Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    subpoena if it requires:
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                         (I) disclosing a trade secret or other confidential research,
attorney responsible for issuing and serving a subpoena must take                 development, or commercial information;
reasonable steps to avoid imposing undue burden or expense on a                       (ii) disclosing an unretained expert’s opinion or information that
person subject to the subpoena. The issuing court must enforce this               does not describe specific occurrences in dispute and results from
duty and impose an appropriate sanction — which may include lost                  the expert’s study that was not requested by a party; or
earnings and reasonable attorney’s fees — on a party or attorney                      (iii) a person who is neither a party nor a party’s officer to incur
who fails to comply.                                                              substantial expense to travel more than 100 miles to attend trial.
   (2) Command to Produce Materials or Permit Inspection.                            (C) Specifying Conditions as an Alternative. In the circumstances
   (A) Appearance Not Required. A person commanded to produce                     described in Rule 45(c)(3)(B), the court may, instead of quashing or
documents, electronically stored information, or tangible things, or              modifying a subpoena, order appearance or production under
to permit the inspection of premises, need not appear in person at                specified conditions if the serving party:
the place of production or inspection unless also commanded to                        (I) shows a substantial need for the testimony or material that
appear for a deposition, hearing, or trial.                                       cannot be otherwise met without undue hardship; and
   (B) Objections. A person commanded to produce documents or                         (ii) ensures that the subpoenaed person will be reasonably
tangible things or to permit inspection may serve on the party or                 compensated.
attorney designated in the subpoena a written objection to
inspecting, copying, testing or sampling any or all of the materials or           (d) Duties in Responding to a Subpoena.
to inspecting the premises — or to producing electronically stored                 (1) Producing Documents or Electronically Stored Information.
information in the form or forms requested. The objection must be                 These procedures apply to producing documents or electronically
served before the earlier of the time specified for compliance or 14              stored information:
days after the subpoena is served. If an objection is made, the                      (A) Documents. A person responding to a subpoena to produce
following rules apply:                                                            documents must produce them as they are kept in the ordinary
     (I) At any time, on notice to the commanded person, the serving              course of business or must organize and label them to correspond to
party may move the issuing court for an order compelling                          the categories in the demand.
production or inspection.                                                            (B) Form for Producing Electronically Stored Information Not
     (ii) These acts may be required only as directed in the order, and           Specified. If a subpoena does not specify a form for producing
the order must protect a person who is neither a party nor a party’s              electronically stored information, the person responding must
officer from significant expense resulting from compliance.                       produce it in a form or forms in which it is ordinarily maintained or
  (3) Quashing or Modifying a Subpoena.                                           in a reasonably usable form or forms.
   (A) When Required. On timely motion, the issuing court must                       (C) Electronically Stored Information Produced in Only One
quash or modify a subpoena that:                                                  Form. The person responding need not produce the same
     (I) fails to allow a reasonable time to comply;                              electronically stored information in more than one form.
     (ii) requires a person who is neither a party nor a party’s officer             (D) Inaccessible Electronically Stored Information. The person
to travel more than 100 miles from where that person resides, is                  responding need not provide discovery of electronically stored
employed, or regularly transacts business in person — except that,                information from sources that the person identifies as not reasonably
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  accessible because of undue burden or cost. On motion to compel
attend a trial by traveling from any such place within the state where            discovery or for a protective order, the person responding must show
the trial is held;                                                                that the information is not reasonably accessible because of undue
     (iii) requires disclosure of privileged or other protected matter, if        burden or cost. If that showing is made, the court may nonetheless
no exception or waiver applies; or                                                order discovery from such sources if the requesting party shows
     (iv) subjects a person to undue burden.                                      good cause, considering the limitations of Rule 26(b)(2)(C). The
   (B) When Permitted. To protect a person subject to or affected by              court may specify conditions for the discovery.
a subpoena, the issuing court may, on motion, quash or modify the                  (2) Claiming Privilege or Protection.
            Case: 1:20-cv-01717 Document #: 165-1 Filed: 10/13/22 Page 4 of 4 PageID #:1092
                                                                 Exhibit A
 (A) Information Withheld. A person withholding subpoenaed
information under a claim that it is privileged or subject to
protection as trial-preparation material must:
   (I) expressly make the claim; and
   (ii) describe the nature of the withheld documents,
communications, or tangible things in a manner that, without
revealing information itself privileged or protected, will enable the
parties to assess the claim.
 (B) Information Produced. If information produced in response to
a subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any
party that received the information of the claim and the basis for it.
After being notified, a party must promptly return, sequester, or
destroy the specified information and any copies it has; must not use
or disclose the information until the claim is resolved; must take
reasonable steps to retrieve the information if the party disclosed it
before being notified; and may promptly present the information to
the court under seal for a determination of the claim. The person
who produced the information must preserve the information until
the claim is resolved.

(e) Contempt. The issuing court may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena. A nonparty’s failure to obey must be excused if the
subpoena purports to require the nonparty to attend or produce at a
place outside the limits of Rule 45(c)(3)(A)(ii).
